                             Case 1:18-cr-00352-MLB-RGV Document 11 Filed 09/04/18 Page 1 of 1
U.S. Department of Justice
United States Attorney                                                                                                     FILED IN CHAMBERS




                                       IN THE UNITED STATES DISTRICT COURT                                                  SEP   4 2018
                                           FOR THE NORTHERN DISTRICT OF GEORGIA

                                                                    Division: Atlanta
                                                                    (USAO: 2017R00271)
                                                                                                                  ��ADEN,                  Clerk




                                  DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION



 COUNTY N AME:                Fulton                                                                                 -rO-Q V i
                                                                              MAGISTRATE CASE NO.
                                                                                                                                                   -1s
  X Indicbnent                                      Information                                   Magistrate's Complaint
 DATE: September 4, 2018                            DATE:                                         DATE:




                                                                         I
                               UNITED STATES OF AMERICA                      SUPERSEDING INDICTMENT
                                         vs.                                 Prior Case Number:
                              MOHMED SOZAB MOMIN                             Date Filed:


 GREATER OFFENSE CHARGED: X Felony Misdemeanor


                                                            Defendant Information:
Is the defendant in custody?              Yes   X No
Will the defendant be arrested pending outcome of this proceeding?                         Yes    X No
Is the defendant a fugitive?             Yes    X No
Has the defendant been released on bond?                  Yes     X No


Will the defendant require an interpreter?                Yes     X No




District Judge:



Attorney: Jeffrey A. Brown
Defense Attorney:
